 Case 21-04071-elm Doc 50 Filed 04/05/22             Entered 04/05/22 11:30:42           Page 1 of 2



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 SPECIAL COUNSEL FOR ANSON FINANCIAL INC.           SPECIAL COUNSEL FOR ANSON FINANCIAL INC.
 DEBTOR AND DEBTOR IN POSSESSION                    DEBTOR AND DEBTOR IN POSSESSION

 And                                                And

 COUNSEL FOR DEFENDANT                              COUNSEL FOR DEFENDANT

                IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION
   IN RE:                             §
                                      §
   ANSON FINANCIAL, INC.,             §       CASE NO. 21-41517
                                      §
          DEBTOR.                     §
                                      §
   B.         FRAZIER       ASSET     §
   MANAGEMENT,         INC.  F/K/A    §
   FRAZIER ASSET MANAGEMENT,          §
   INC., AND BRIAN H. FRAZIER,        §
   INDIVIDUALLY                       §         Adv. No. 21-04071
                                      §
   Plaintiffs                         §          Removed From:
                                      §     Cause No. 342-288776-16
   vs.                                §    342nd Judicial District Court
                                      §       Tarrant County, Texas
   ANSON FINANCIAL, INC.,             §
                                      §
                                      §
          Defendant.                  §

                                   NOTICE OF HEARING (DOCKET NO. 39)

TO ALL INTERESTED PARTIES:

       PLEASE TAKE NOTICE that the hearing on Defendant’s Motion to Disqualify Plaintiff’s
Counsel Caleb Moore (Docket 39) is scheduled before the Honorable Judge Edward L. Morris on
Wednesday, the 20th day of April, 2022 at 2:30 p.m. The hearing will be conducted by Webex
Video and audio facilities of the Court.




Notice of Hearing – Motion to Disqualify                                                        Page | 1
 Case 21-04071-elm Doc 50 Filed 04/05/22                 Entered 04/05/22 11:30:42     Page 2 of 2




          For WebEx Video Participation/Attendance:

          Link: https://us-courts.webex.com/meet/morris

          For WebEx Telephonic Only Participation/Attendance:

          Dial-In: 1.650.479.3207
          Meeting ID: 473 581 124

          For updated hearing instructions, please find the below link to the Judge’s webpage:

          https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-morris-hearing-dates-0

 Dated: April 5, 2022                           Respectfully submitted:

                                                Magan Law, PLLC

                                                By:___/s/ Kathryn Hernandez________________
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                                                Sullivan & Cook

                                                By:___/s/ M. Jason Ankele________________
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                                                ATTORNEYS FOR DEFENDANT

                                           CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing Notice of
Hearing was served on April 5, 2022 by electronic transmission through the Court’s automated
Case Management and Electronic Docketing System for the U.S. Bankruptcy Court for the
Northern District of Texas, on all parties-in-interest submitting to service of papers in this case by
said means.

                                                           /s/ Kathryn Hernandez
                                                           Kathryn Hernandez




Notice of Hearing – Motion to Disqualify                                                         Page | 2
